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                 UNITED STATES DISTRICT COURT
                     DISTRICT OF NEW JERSEY
 YITZCHOK ROKOWSKY,            :
                               : DKT NO: 3:15-cv-02059-FLW-LHG
                    Plaintiff, :
                               :
 v.                            : CIVIL ACTION
                               :
 SUNGAME CORPORATION,          :
 ROBERT KLOIHOFER, NEIL        :
 CHANDRAN, JP MORGAN           :
 CHASE & CO., JOHN DOES 1-     :      DEFAULT JUDGMENT
 100,                          :
                               :
 Defendant(s).                 :

      The Defendant SUNGAME CORPORATION having failed to plead or otherwise
defend in this action, and default having been entered on May 29, 2015; and upon
application of Plaintiff and upon affidavit that Defendant SUNGAME CORPORATION
is indebted to Plaintiff in the principal sum of $50,000.00 plus treble damages under the
NJ Consumer Fraud Act, N.J.S.A. 56:8-1, plus interest thereon; and that the claim is for
a sum certain or for a sum which can by computation be made certain; it is hereby
      ORDERED, ADJUDGED and DECREED that Plaintiff YITZCHOK
ROKOWSKY recover of the Defendant SUNGAME CORPORATION the sum of
$150,000.00 plus costs and interest according to law from the date of this judgment until
the entire amount is paid.
      This judgment is entered by the Clerk at the request of the Plaintiff and upon
affidavit that said amount is due, in accordance with Fed.R.Civ.P. 55(b)(1).


                             WILLIAM T. WALSH, CLERK
                             ______________________________
                             BY:
